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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


   UNITED STATES OF AMERICA

   vs.                                              CASE NO.: 3:18-cr-00089-MMH-JRK

   KATRINA BROWN,
         Defendant
   ________________________________/

                                      MOTION TO WITHDRAW

            Darcy Galnor, attorney for Defendant Katrina Brown, pursuant to Local Rule 2.03(b),

   respectfully moves this Honorable Court to grant leave for withdrawal from this case for the

   following reasons:

         1. The undersigned was appointed to represent Katrina Brown on June 21, 2018.

         2. The case is currently scheduled for the February 4, 2019, trial term.

         3. Because of compelling circumstances as described in Local Rule 2.03(c) and the

            development of irreconcilable differences between the undersigned and Ms. Brown,

            effective representation by the undersigned cannot be accomplished.

         4. Pursuant to Local Rule 2.03(b), the undersigned has conferred with Ms. Brown about this

            motion. Ms. Brown will inform the Court of her position on this motion during the

            hearing.

         5. As an officer of this Court, the undersigned represents that this motion is made in good

            faith and not for the purposes of unduly delaying proceedings herein.
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      6. Notwithstanding the 10-day notice provision of Rule 2.03(b), the undersigned feels

          compelled to bring this to the immediate attention of the Court. The United States and

          Ms. Brown have been notified.

      7. Assistant United States Attorney Tysen Duva objects to this motion.

      WHEREFORE, the Darcy Galnor, attorney for Katrina Brown, respectfully requests this

   Honorable Court grant this motion and permit the undersigned to withdraw as counsel.

      Dated this 21st day of December, 2018.




                                               Respectfully submitted,

                                               GALNOR SHUMARD, P.A.

                                               /s/ Darcy Galnor___________
                                               Darcy Galnor
                                               Florida Bar Number: 0908681
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on December 21st, 2018, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system, which will send a notice of the

   electronic filing to Assistant United States Attorney Tysen Duva. Additionally, on December 21st,

   2018, a copy of this motion was emailed to Katrina Brown.


                                                 GALNOR SHUMARD, P.A.

                                                 /s/ Darcy Galnor__________________
                                                 Darcy D. Galnor
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                                                 Gary S. Shumard
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